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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:22-cr-307 (CJN)
         v.                                   :
                                              :
SUSAN MANWARING,                              :
                                              :
                 Defendant                    :


                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Susan Manwaring (“Manwaring”) to 14 days of incarceration as a

condition of 36 months of probation, pursuant to 18 U.S.C. § 3563(b)(10)—or alternatively a split

sentence of 14 days of incarceration followed by 36 months of probation, pursuant to 18 U.S.C. §

3561(a)(3) followed by 36 months of probation—as well as $500 restitution, and the mandatory

$25 special assessment.

    I.        Introduction

         Defendant Susan Manwaring, a 59-year-old resident of Vernal, Utah, and her son, Landon

Manwaring (“L.M.”), 1 participated in the January 6, 2021, attack on the United States Capitol—a

violent attack that forced an interruption of Congress’s certification of the 2020 Electoral College




1
  Separately charged in United States v. L.M., 1:22-cr-270 (CJN), and sentenced by this Court on
November 28, 2022, to 30 days of incarceration followed by 35 months of probation, with $500
restitution.


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vote count, threatened the peaceful transfer of power after the 2020 Presidential election, injured

more than one hundred police officers, and resulted in more than 2.8 million dollars in losses. 2

       Defendant Manwaring pleaded guilty to one count of violating 40 U.S.C. § 5104(e)(2)(G)

(Unlawful Parading, Demonstrating, or Picketing in the Capitol Building). As explained herein, a

sentence of 14 days of incarceration as a condition of 36 months of probation, pursuant to 18

U.S.C. § 3563(b)(10)—or alternatively a split sentence of 14 days of incarceration followed by 36

months of probation, pursuant to 18 U.S.C. § 3561(a)(3) followed by 36 months of probation—as

well as $500 restitution, and the mandatory $25 special assessment, is appropriate in this case

because Manwaring (1) entered the Capitol through the Senate Wing Door while other rioters were

entering the building through smashed out windows adjacent to that door; (2) was inside the Crypt

when a mob of rioters stormed past police officers and into further reaches of the Capitol; (3)

walked to the vicinity of Speaker Pelosi’s office suite, an area that would have been closed to the

public even when the Capitol building was open to the public; (4) remained inside the Capitol for

approximately half an hour; (5) repeatedly minimized her conduct during two interviews with the

FBI, falsely claiming that police did nothing to discourage or prevent rioters from entering the

Capitol building and that she saw no property destruction when she entered; and (6) has yet to

express remorse for her criminal conduct on January 6.

       The Court must also consider that Manwaring’s conduct on January 6, like the conduct of

hundreds of other rioters, took place in the context of a large and violent riot that relied on numbers




2
  Although the Statement of Offense in this matter, filed on August 26, 2022, (ECF No. 7 at ¶ 3)
reflects a sum of more than $1.4 million dollars for repairs, as of October 17, 2022, the approximate
losses suffered as a result of the siege at the United States Capitol as of October 17, 2022, was
$2,881,360.20. That amount reflects, among other things, damage to the United States Capitol
building and grounds and certain costs borne by the United States Capitol Police.

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to overwhelm police officers who were trying to prevent a breach of the Capitol Building, and

disrupt the proceedings. But for her actions alongside so many others, the riot likely would have

failed. Here, the facts of and circumstances of Manwaring’s crime and her attempts to minimize

and excuse her conduct both times the FBI interviewed her support a sentence of 14 days of

incarceration as a condition of 36 months of probation, pursuant to 18 U.S.C. § 3563(b)(10)—or

alternatively a split sentence of 14 days of incarceration followed by 36 months of probation,

pursuant to 18 U.S.C. § 3561(a)(3) followed by 36 months of probation—as well as $500

restitution, and the mandatory $25 special assessment.

 II.        Factual and Procedural Background

            The January 6, 2021 Attack on the Capitol

       To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See ECF No. 9 (Statement of Offense), at 1-3.

            Defendant Manwaring’s Role in the January 6, 2021, Attack on the Capitol

       In early January 2021, Manwaring and her son, L.M., traveled together from Vernal, Utah,

to Washington, D.C. to attend rallies in support of former President Donald Trump. On January 5,

2021, Manwaring and L.M. attended a rally where they were informed by the speakers and fellow

rally-goers that the plan for the next day, January 6, 2021, was for people to attend former President

Trump’s rally on January 6, 2021, and, after former President Trump’s speech ended, then march

to the U.S. Capitol to attempt to influence the Senate while it tallied the votes of the Electoral

College.

       On January 6, 2021, Manwaring and L.M. attended former President Trump’s rally and

then marched to the U.S. Capitol as planned. As she approached the U.S. Capitol building from

the west, Manwaring saw metal bicycle rack barricades that had been pushed aside.


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       Manwaring and L.M. joined the mob that proceeded en masse to the U.S. Capitol’s west

plaza, where rioters were inside a restricted area and physically battling police amidst clouds of

tear gas. Manwaring and L.M. watched, filmed video, and took pictures of the chaos using their

mobile telephones. The photographs below show Manwaring and L.M., circled in yellow, within

the mob on the west plaza.




       Eventually, Manwaring and L.M. followed the mob up the exterior stairs to the U.S. Capitol

building’s second level, known as the Upper West Terrace.



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       At approximately 2:13 p.m., rioters used a stolen police riot shield and other objects to

smash the windows on either side of the Capitol building’s Senate Wing Doors. With the windows

shattered, rioters breached the Capitol building for the first time by jumping through the window

over the broken glass:




       At approximately 2:23 p.m.—just ten minutes after the entry depicted above—Manwaring

and L.M. entered the U.S. Capitol building through the same Senate Wing Door. 3 At the time

Manwaring and L.M. entered the U.S. Capitol building, an alarm was sounding, other rioters were

climbing into the building through broken windows on either side of the Senate Wing Door, and

at least one of the windows of the Senate Wing Door itself was broken. The moment the

Manwarings entered the Capitol is depicted below, with the Manwarings circled in yellow.




3
 Manwaring and L.M. claimed that police officers were waving people in at this breach/entry
point at this time, but the government has identified no evidence supporting this claim.
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       Over the next thirty minutes, Manwaring and L.M. walked throughout the U.S. Capitol

building. Along the way, Manwaring saw broken windows, observed multiple uniformed and

armed police officers, posed for photographs, and took photographs of other rioters.

       Immediately after entering the Capitol building, Manwaring and L.M. turned to the right

and walked past the shattered glass on the floor from the smashed-in window. As they walked

down that hallway, Manwaring took a photograph of L.M. in which L.M. appears on the far-left

side of the frame, with his face turned toward the camera.




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       Manwaring and L.M. proceeded from the Senate Wing Door to the Crypt, where they

encountered a mass of other rioters, who were stymied by a few police officers blocking the nearby

stairs to access the Capitol’s second floor. The Manwarings appear in the photographs below,

circled in red in the first photograph and yellow in the second.




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          Manwaring used her cell phone to photograph the scene inside the Crypt.




          Shortly thereafter, the mass of rioters surged forward and overwhelmed the small group of

officers guarding the stairway, which was near the Memorial Doors. Approximately two minutes

after the other rioters breached that police line, Manwaring and L.M. joined the avalanche of rioters

that streamed through that area and up the stairs, as pictured below with the Manwarings circled

in red.




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        Once up the stairs, Manwaring and L.M. walked through Statuary Hall, as captured below

with the Manwarings circled in red. L.M. used his cell phone to photograph the scene.




       From Statuary Hall, Manwaring and L.M. walked to the area outside of Speaker of the

House Nancy Pelosi’s office, which Manwaring photographed. L.M. appears below, circled in

yellow. The United States does not have surveillance camera footage of either Manwaring or L.M.

inside Speaker Pelosi’s office suite, however.




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          From Speaker Pelosi’s office suite threshold, Manwaring and L.M. walked to the Rotunda,

where they spent approximately ten minutes.




          Manwaring and L.M. then exited the Rotunda and walked down the old Supreme Court

chamber stairs, returning to the Capitol’s first floor, as pictured below with the Manwarings circled

in red.




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Manwaring and L.M. finally exited the Capitol building at 2:53:47 p.m. through the Senate Wing

Door, the same door through which they had entered thirty minutes earlier. The photograph below

depicts the moment Manwaring and L.M. exited, with them circled in red.




       Manwaring and L.M. were aware that the Senate intended to tally the Electoral College

votes, and thus certify the 2020 presidential election of Joseph R. Biden, on January 6, 2021, the

same day that they entered and participated in the occupation of the Capitol building.

       In total, Manwaring and L.M. spent 30 minutes inside of the Capitol. Both Manwaring and

L.M. have admitted that they knew at the time they entered the U.S. Capitol Building that they did

not have permission to do so, and they engaged in disorderly and disruptive conduct in the Capitol

Building with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress.

                            Manwaring’s First Interview with the FBI

       On August 11, 2021, just over a year before she was charged in this case, Manwaring gave

a voluntary interview to the FBI. Manwaring admitted traveling to Washington with her son, L.M.,

on January 5, 2021, and entering the Capitol building on January 6, 2021. Manwaring consistently

minimized her conduct, however. She claimed that she never saw violence from the police or any

protestors and that the scene on the ground was nothing like the violence and rioting portrayed on
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the news. (Manwaring’s account is contradicted by copious video footage.) Manwaring stated that

she did not feel that she did anything wrong.

       According to Manwaring, when she and L.M. entered the Capitol building, they did so

without any deterrents. She asserted that while police were present and obviously armed, they did

nothing to keep protestors away from or out of the building; people were freely moving in and out

of the Capitol. She claimed she did not see any broken doors or windows and that no alarms were

going off. Manwaring also stated that she did not go to the Capitol to disrupt the electoral vote but

rather just to peacefully make her presence known (presumably to lawmakers) and that she only

went inside the building because she wanted to see it. She stated she and L.M. left when the Capitol

began getting crowded and she felt the mood shift, not because any police officer told them to exit.

       Manwaring admitted taking multiple photographs while inside the Capitol building. She

stated that she uploaded the photos to her desktop computer, deleted them from her phone, and did

not post them on social media. Manwaring refused to allow investigators to view the photos.

                           Manwaring’s Second Interview with the FBI

       A little over three months later, on August 22, 2021, Manwaring consented to a second

voluntary interview with FBI agents. Manwaring mostly reiterated her earlier statements.

Manwaring again minimized her conduct and suggested police permitted her, L.M., and others to

enter and exit the Capitol. This time, however, Manwaring acknowledged that as she and L.M.

approached the Capitol on foot after the rally, they saw bicycle rack barricades that had been

pushed aside. She admitted that she asked L.M. if he wanted to climb the stairs to access the

Capitol’s Upper West Terrace and go inside the Capitol building. Finally, she conceded that when

she reviewed her photographs, she noticed that there were broken windows around the door she

and L.M. used to enter the Capitol building.



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       Manwaring admitted roaming the Capitol, including the area outside of Speaker Pelosi’s

office suite and the Rotunda. She estimated that she and L.M. spent 20 minutes inside the Capitol

and stated they chose to leave when the building became more crowded with protestors who

appeared to be acting increasingly aggressive. (In reality, the Manwarings spent 30 minutes inside

the Capitol building.)

       At the conclusion of the second interview, Manwaring signed a consent form and allowed

law enforcement officers to view and make copies of the photographs and videos she took while

inside the Capitol building. Manwaring did not express remorse or regret about her actions on

January 6, 2021.

                                 The Charges and Plea Agreement

       On September 13, 2022, the United States charged Manwaring by a one-count information

with violating 40 U.S.C. § 5104(e)(2)(G). Manwaring was never formally arrested. On October 4,

2022, the Court held a hearing in which Manwaring both had her initial appearance and pleaded

guilty to the Information pursuant to a plea agreement. See ECF Nos. 5-7. The Court granted

Manwaring release pending her sentencing. By plea agreement, Manwaring agreed to pay $500 in

restitution to the Department of the Treasury.

III.       Statutory Penalties

       Manwaring now faces sentencing on a single count of violating 40 U.S.C. § 5104(e)(2)(G).

As noted by the plea agreement and the U.S. Probation Office, Manwaring faces up to six months

of imprisonment and a fine of up to $5,000. Manwaring must also pay restitution under the terms

of her plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072,

1078-79 (D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing Guidelines

do not apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.



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IV.        Sentencing Factors Under 18 U.S.C. § 3553(a)

       In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of 14 days of incarceration as a

condition of 36 months of probation, pursuant to 18 U.S.C. § 3563(b)(10)—or alternatively a split

sentence of 14 days of incarceration followed by 36 months of probation, pursuant to 18 U.S.C. §

3561(a)(3) followed by 36 months of probation—as well as $500 restitution, and the mandatory

$25 special assessment.

           A. The Nature and Circumstances of the Offense

       The attack on the U.S. Capitol on January 6 posed a grave danger to our democracy.”

United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021). The attack “endangered hundreds

of federal officials in the Capitol complex,” including lawmakers who “cowered under chairs while

staffers blockaded themselves in offices, fearing physical attacks from the rioters.” United States

v. Judd, 21-cr-40, 2021 WL 6134590, at *5 (D.D.C. Dec. 28, 2021). While assessing Manwaring’s

participation in that attack to fashion a just sentence, this Court should consider various

aggravating and mitigating factors. Notably, for a misdemeanor defendant like Manwaring, the

absence of violent or destructive acts is not a mitigating factor. Had Manwaring engaged in such

conduct, she would have faced additional criminal charges.


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         One of the most important factors in Manwaring’s case is the fact that she entered the

Capitol building through the Senate Wing Door just ten minutes after it was first breached, making

her part of the initial wave of rioters that quickly overwhelmed police officers and provided the

rioters with nearly unfettered access to the Capitol’s chambers, offices, hallways, and other

sensitive areas. While Manwaring was not wearing tactical gear herself, nor did she engage in

violence, the true strength of the rioters was in the mob’s sheer numbers, and she added to that

power.

         The volume of rioters in the Crypt is what caused police officers to yield at one of the riot’s

first—and most important—interior chokepoints: the area just outside the Memorial Doors, where

officers made a brief stand in an attempt to keep rioters from accessing the nearby staircase, which

led to the Speaker’s Lobby. Once rioters broke this line, they—including Manwaring and her

son—progressed up those same stairs. The area they were then able to access allowed rioters to

access Speaker Pelosi’s office suite. Inside, some of the Speaker’s staff members were hiding in

terror under a conference table. See https://www.businessinsider.com/pelosi-staff-barricaded-

themselves-in-room-as-rioters-looted-office-2021-1. Some of the rioters who entered Speaker

Pelosi’s office 4 suite stole items, including a government laptop computer used by Speaker Pelosi.

Others overturned her furniture, left threatening messages, and defecated. An avalanche is

comprised of individual snowflakes. Without the mass of rioters, including Manwaring, all

confronting them at once, the police may have been able to hold their position near the Memorial

Doors and keep the rioters far more contained, and clear them from the Capitol building far sooner.




4
 The government acknowledges that the Manwarings do not appear to have entered the interior of
any of Speaker Pelosi’s office suite spaces.
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       Additionally, Manwaring has failed to express genuine remorse, or even accept full

responsibility for her actions. Instead, during both of her FBI interviews she minimized her

conduct at every turn, claimed that police did nothing to indicate that she and other rioters were

not allowed inside the Capitol building, and insisted that she did not see the broken glass, notice

the rioters climbing through windows, or hear the blaring alarms as she entered. Accordingly, the

nature and the circumstances of this offense establish the clear need for a sentence beyond mere

probation.

             B. The History and Characteristics of Manwaring

       Prior to her conduct on January 6, 2021, Manwaring appears to have led a productive, law-

abiding life. She has no criminal history. PSR §§ 23-28, 41. For approximately ten years, she ran

a small business producing orthodontic equipment. Id. § 44. In February 2022, she sold the

business to her son, L.M., who now runs it from his home. Id.

             C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds was an attack on the rule of law. As

with the nature and circumstances of the offense, this factor supports a sentence of incarceration,

as it will in most cases, including misdemeanor cases, arising out of the January 6 riot. See United

States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21 at 3 (“As to probation, I

don't think anyone should start off in these cases with any presumption of probation. I think the

presumption should be that these offenses were an attack on our democracy and that jail time is

usually -- should be expected”) (statement of Judge Hogan).

             D. The Need for the Sentence to Afford Adequate Deterrence

       Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

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defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).

         Specific Deterrence

         Manwaring’s actions – before and during the riot – demonstrate the need for specific

deterrence. According to Manwaring’s FBI interviews, she entered the Capitol without thinking

critically about her actions; she just followed the crowd. The Court must sentence her in a way that

inhibits her from acting like a lemming again in the future. Moreover, Manwaring demonstrated

no real recognition of wrongdoing until she pled guilty and accepted responsibility. Indeed, during

her FBI interviews, she repeatedly sought to minimize or excuse her criminal conduct.

Manwaring’s resistance to acknowledging the full scope of his conduct demonstrates some need

for specific deterrence. If she persists in believing that she and other rioters were allowed to enter

the Capitol, it would increase the risk that she would offend again. That said, the government is

not aware of other evidence that Manwaring poses an ongoing risk, such as social media messages

celebrating the riot.

            E. The Need to Avoid Unwarranted Sentencing Disparities

         As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as



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in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 5 This

Court must sentence Manwaring based on her own conduct and relevant characteristics, but should

give substantial weight to the context of her unlawful conduct: her participation in the January 6

riot.

        Manwaring has pleaded guilty to Count One of the Information, charging her with

Unlawful Parading, Demonstrating, or Picketing in the Capitol Building, in violation of 40 U.S.C.

§ 5104(e)(2)(G). This offense is a Class B misdemeanor. 18 U.S.C. § 3559. Certain Class B and C

misdemeanors and infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing

Guidelines do not apply, U.S.S.G. 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a),

including “the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct,” 18 U.S.C.A. § 3553(6), do apply,

however.

        Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” Section 3553(a)(6) does not limit the sentencing court’s broad

discretion under 18 U.S.C. § 3553(a) “to impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in paragraph (2) of this subsection.” 18 U.S.C.

§ 3553(a). Although unwarranted disparities may “result when the court relies on things like

alienage, race, and sex to differentiate sentence terms,” a sentencing disparity between defendants

whose differences arise from “legitimate considerations” such as a “difference[] in types of

charges” is not unwarranted. United States v. Bridgewater, 950 F.3d 928, 936 (7th Cir. 2020).


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   Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also shows
that the requested sentence here would not result in unwarranted sentencing disparities.

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       “Congress’s primary goal in enacting § 3553(a)(6) was to promote national uniformity in

sentencing rather than uniformity among co-defendants in the same case.” United States v. Parker,

462 F.3d 273, 277 (3d Cir. 2006). “[A] defendant cannot rely upon § 3553(a)(6) to seek a reduced

sentence designed to lessen disparity between co-defendants’ sentences.” Consequently, Section

3553(a)(6) neither prohibits nor requires a sentencing court “to consider sentencing disparity

among codefendants.” Id. Plainly, if Section 3553(a)(6) is not intended to establish sentencing

uniformity among codefendants, it cannot require uniformity among all Capitol siege defendants

charged with petty offenses, as they share fewer similarities in their offense conduct than

codefendants do. See United States v. Smocks, D.D.C. 21-cr-198 (TSC), Sent. Tr. at 48-49 (“With

regard to the need to avoid sentence disparity, I find that this is a factor, although I have found in

the past and I find here that the crimes that occurred on January 6 are so unusual and unprecedented

that it is very difficult to find a proper basis for disparity.”) (statement of Judge Chutkan)

       Cases involving convictions only for Class B misdemeanors (petty offenses) are not subject

to the Sentencing Guidelines, so the Section 3553(a) factors take on greater prominence in those

cases. Sentencing judges and parties have tended to rely on other Capitol siege petty offense cases

as the closest “comparators” when assessing unwarranted disparity. But nothing in Section

3553(a)(6) requires a court to mechanically conform a sentence to those imposed in previous cases,

even those involving similar criminal conduct and defendant’s records. After all, the goal of

minimizing unwarranted sentencing disparities in Section 3553(a)(6) is “only one of several

factors that must be weighted and balanced,” and the degree of weight is “firmly committed to the

discretion of the sentencing judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir. 2012).

The “open-ended” nature of the Section 3553(a) factors means that “different district courts may

have distinct sentencing philosophies and may emphasize and weigh the individual § 3553(a)



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factors differently; and every sentencing decision involves its own set of facts and circumstances

regarding the offense and the offender.” United States v. Gardellini, 545 F.3d 1089, 1093 (D.C.

Cir. 2008). “[D]ifferent district courts can and will sentence differently—differently from the

Sentencing Guidelines range, differently from the sentence an appellate court might have imposed,

and differently from how other district courts might have sentenced that defendant.” Id. at 1095.

It follows that a sentencing court in a Capitol siege petty offense case is not constrained by

sentences previously imposed in other such cases. See United States v. Stotts, D.D.C. 21-cr-272

(TJK), Nov. 9, 2021 Sent. Hrg. Tr. at 33-34 (“I certainly have studied closely, to say the least, the

sentencings that have been handed out by my colleagues. And as your attorney has pointed out,

you know, maybe, perhaps not surprisingly, judges have taken different approaches to folks that

are roughly in your shoes.”) (statement of Judge Kelly).

       Additionally, logic dictates that whether a sentence creates a disparity that is unwarranted

is largely a function of the degree of the disparity. Differences in sentences measured in a few

months are less likely to cause an unwarranted disparity than differences measured in years. For

that reason, a permissible sentence imposed for a petty offense is unlikely to cause an unwarranted

disparity given the narrow range of permissible sentences. The statutory range of for a petty offense

is zero to six months. Given that narrow range, a sentence of six months, at the top of the statutory

range, will not create an unwarranted disparity with a sentence of probation only, at the bottom.

See United States v. Servisto, D.D.C. 21-cr-320 (ABJ), Dec. 15, 2021 Sent. Hrg. Tr. at 23-24 (“The

government is trying to ensure that the sentences reflect where the defendant falls on the spectrum

of individuals arrested in connection with this offense. And that’s largely been accomplished

already by offering a misdemeanor plea, which reduces your exposure substantially.”) (statement

of Judge Berman Jackson); United States v. Dresch, D.D.C. 21-cr-71 (ABJ), Aug. 4, 2021 Sent.



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Hrg. Tr. at 34 (“Ensuring that the sentence fairly reflects where this individual defendant falls on

the spectrum of individuals arrested in connection with the offense has largely been accomplished

by the offer of the misdemeanor plea because it reduces his exposure substantially and

appropriately.”) (statement of Judge Berman Jackson); United States v. Peterson, D.D.C. 21-cr-

309, Sent. Hrg. Tr. at 26 (statement of Judge Berman Jackson) (similar).

       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, this Court has sentenced other defendants convicted of petty

offenses to incarceration. The sentences in the following cases provide suitable comparisons

to the relevant sentencing considerations in this case.

       The most direct comparison for Manwaring’s conduct is the case against her son L.M.,

1:22-cr-270 (CJN), who engaged in essentially identical conduct inside and outside the U.S.

Capitol building and similarly minimized his conduct in his interview with federal agents. This

Court sentenced L.M. to 30 days of incarceration followed by 35 months of probation. Manwaring

should not receive the same sentence as L.M., however, because between January 6, 2021, and his

sentencing, L.M. committed a new felony in his home state of Utah, for which he was separately

prosecuted by the state. See L.M. ECF No. 16. At sentencing, this Court made clear that it was

concerned by L.M.’s continued criminal conduct, which justified a stiffer penalty to effect specific

deterrence. Manwaring has no such additional criminal conduct or other aggravating factor,

however, and thus she should receive a lesser sentence than her son.

       United States v. Seymour, et. al., 1:22-cr-41 (APM), involved a similar family dynamic.

The defendant, Seymour, Sr., was a 61 year-old man with no criminal record who unlawfully

entered the Capitol building alongside his adult son, Seymour, Jr., who was charged as a co-

defendant. Like the Manwarings, the Seymour father and son duo approached the Capitol from the



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west, witnessed mob confrontations with police on the West Plaza, entered the building through

the Senate Wing Doors (albeit approximately 45 minutes after the Manwarings), took and posed

for photographs inside, and exited after spending approximately 25-30 minutes inside the building.

The Court sentenced both Seymour, Sr. and Seymour, Jr. to 12 months of probation. The main

differences between Seymour, Sr. and Manwaring is that the former immediately acknowledged

the wrongfulness of his actions and accepted responsibility, whereas Manwaring did not;

Manwaring spent approximately five minutes longer in the Capitol building, and Manwaring

reached a more sensitive area (Speaker Pelosi’s suite).

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

 V.        A sentence of probation may include imprisonment as a condition of probation.

       A sentencing court may impose imprisonment as a condition of probation under 18 U.S.C.

§ 3563(b)(10). Under Section 3563(b)(10), the Court may impose an imprisonment term in

distinct intervals, with each interval not exceeding two weeks. Second, a sentencing court may

impose a “split sentence”—“a period of incarceration followed by period of probation,” Foster v.
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Wainwright, 820 F. Supp. 2d 36, 37 n.2 (D.D.C. 2011) (citation omitted)—under 18 U.S.C. §

3561(a)(3). See United States v. Little, 590 F.Supp.3d 340, 351 (D.D.C. 2022) (explaining that

a sentence of 60 days of imprisonment followed by three years of probation is permissible under

Section 3561(a)(3) for a defendant convicted of a single petty offense).

       In this case, a sentence of 14 days of imprisonment and 36 months of probation is

sufficient, but not greater than necessary, to serve the purposes of sentencing under 18 U.S.C. §

3553(a)(2). The Court may impose such a sentence either under Section 3563(b)(10), with a term

of imprisonment as a condition of probation, or as a split sentence under Section 3561(a)(3).

       In 18 U.S.C. § 3563, Congress set out “[c]onditions of probation.” 18 U.S.C. § 3563.

Among the discretionary conditions of probation a sentencing court may impose is a requirement

that a defendant

           remain in the custody of the Bureau of Prisons during nights, weekends or other
           intervals of time, totaling no more than the lesser of one year or the term of
           imprisonment authorized for the offense, during the first year of the term of
           probation or supervised release.

18 U.S.C. § 3563(b)(10). Congress enacted this provision to give sentencing courts “flexibility”

to impose incarceration as a condition of probation in one of two ways. S. Rep. No. 225, 1983

WL 25404, at *98. First, a court can direct that a defendant be confined in “split intervals” over

weekends or at night. Id. Second, a sentencing court can impose “a brief period of confinement”

such as “for a week or two.” Id. 6

       Section 3563(b)(10) authorizes a sentencing court to impose one or more intervals of

imprisonment as a condition of probation. 18 U.S.C. § 3653(b)(10). Section 3563(b)(10)


6
  Section 3563(b)(10)’s legislative history notes that imprisonment as a term of probation was “not
intended to carry forward the split sentence provided in Section 3561, by which the judge imposes
a sentence of a few months in prison followed by probation.” S. Rep. No. 225, 1983 WL 25404,
at *98.

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authorizes sentencing courts to impose up to a year (or the authorized statutory maximum) of

imprisonment, which the defendant must serve during the first year of probation. Id. Thus, for a

violation of 40 U.S.C. § 5104(e)(2)(G), Section 3563(b)(10) facially permits a sentencing court to

require the defendant to serve up to six months in prison as a condition of probation. See 40 U.S.C.

§ 5109; 18 U.S.C. § 3563(b)(10). Any imprisonment term imposed as a condition of probation

must be served during “nights, weekends or other intervals of time.” § 3563(b)(10).

       Although the statute does not define an “interval of time,” limited case law suggests that it

should amount to a “brief period” of no more than a “week or two” at a time. United States v.

Mize, No. 97-40059, 1998 WL 160862, at *2 (D. Kan. Mar. 18, 1998) (quoting Section

3563(b)(10)’s legislative history described above and reversing magistrate’s sentence that included

30-day period of confinement as a condition of probation); accord United States v. Baca, No. 11-

1, 2011 WL 1045104, at *2 (C.D. Cal. Mar. 18, 2011) (concluding that two 45-day periods of

continuous incarceration as a condition of probation was inconsistent with Section 3563(b)(10));

see also United States v. Anderson, 787 F. Supp. 537, 538 (D. Md. 1992) (continuous 60-day

incarceration not appropriate as a condition of probation); United States v. Forbes, 172 F.3d 675,

676 (9th Cir. 1999) (“[S]ix months is not the intermittent incarceration that this statute permits.”).

Accordingly, a sentence of up to two weeks’ imprisonment served in one continuous term followed

by a period of probation is permissible under Section 3563(b)(10).

       Typically known as “intermittent confinement,” a sentencing court may impose multiple

intervals of imprisonment under Section 3563(b)(10). See Anderson, 787 F. Supp. at 539. Section

3563(b)(10) thus authorizes this Court to impose more than one imprisonment interval, where each

such interval is no more than 14 days. See, e.g., United States v. Cameron, 22-cr-17 (TFH), ECF

No. 36 (D.D.C. Aug. 17, 2022) (imposing 30-day imprisonment sentence (ten three-day intervals)



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and three years of probation); United States v. Vuksanaj, 21-cr-620 (BAH), ECF No. 43 (D.D.C.

Apr. 29, 2022) (imposing 42-day imprisonment sentence (three 14-day intervals) and three years

of probation); United States v. Reed, 21-cr-204 (BAH), ECF No. 177 (D.D.C. Apr. 14, 2022)

(same); United States v. McCreary, 21-cr-125 (BAH), ECF No. 46 (D.D.C. Apr. 1, 2022) (same);

United States v. Howell, 21-cr-217 (TFH), ECF No. 41 (D.D.C. Mar. 8, 2022) (imposing 60-day

imprisonment sentence (six 10-day intervals) and three years of probation); United States v.

Schornak, 21-cr-278 (BAH), ECF No. 71 (D.D.C. Feb. 18, 2022) (imposing 28-day imprisonment

sentence (two 14-day intervals) and three years of probation).         Imposing an intermittent

confinement sentence with 14 days of imprisonment as a condition of probation is appropriate in

this case.

        To be sure, earlier in the investigation of the January 6 attack on the Capitol, the

government refrained from recommending intermittent confinement sentences given the potential

practical and logistical concerns involved when an individual repeatedly enters and leaves a

detention facility during an ongoing global pandemic. At this point, however, multiple jury trials

have successfully occurred, see Standing Order No. 22-64 (BAH), at 3 (D.D.C. Nov. 9, 2022)

(noting that the Court has “forg[ed] ahead” and eas[ed] the backlog” of criminal cases since the

Omicron surge began to abate in February 2022), and general COVID trends appear to show a

decrease in cases. 7

VI.          A sentence imposed for a petty offense may include both imprisonment and
             probation.

        The government’s recommended sentence of 14 days in prison and 36 months of probation

is also permissible under 18 U.S.C. § 3561(a)(3). As Judge Lamberth observed, Section 3561(a)(3)


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   See Centers for Disease Control and Prevention, COVID Data Tracker, available at
https://covid.cdc.gov/covid-data-tracker/#datatracker-home (last viewed Nov. 21, 2022).

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“permits a sentencing judge to impose a term of probation at the same time as a term of

imprisonment when a defendant is sentenced to imprisonment for only a petty offense or offenses.”

Little, 590 F.Supp.3d at 351; see generally Appellee’s Brief for the United States, United States v.

Little, No. 22-3018 (D.C.) (filed Aug. 29, 2022). Because the government has briefed a sentencing

court’s authority to impose a split sentence for a defendant convicted of a single petty offense in

this Court and the D.C. Circuit, those arguments are not elaborated further here. 8

    VI.      Conclusion

          Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Defendant to 14 days of

incarceration followed by 36 months of probation, as well as $500 restitution, and the mandatory

$25 special assessment. Such a sentence protects the community, promotes respect for the law,

and deters future crime by imposing restrictions on his liberty as a consequence of his behavior,

while recognizing his acceptance of responsibility for his crime.

                                               Respectfully submitted,

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8
 The defendant’s appeal of the split sentence imposed in Little is pending. The D.C. Circuit heard
oral argument on November 2, 2022.

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                              CERTIFICATE OF SERVICE

       On January 10, 2023, a copy of the foregoing was served upon all parties listed on the
Electronic Case Filing (ECF) System.


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